                                       Monolines Ex. 45
Case:17-03283-LTS Doc#:18815-3 Filed:10/27/21 Entered:10/27/21 09:09:47                 Desc:
                       Monolines Ex. 45 Page 1 of 10



                                          LOAN AGREEMENT

           This LOAN AGREEMENT is dated as of August 28, 2013, by and between the
      PUERTO RICO HIGHWAYS AND TRANSPORTAT ION AUTHORITY (the
       Authority" or the "Borrower") and the GOVERNMENT DEVELOPMENT BANK
      11



      FOR PUERTO RICO (the "Bank" or the "Lender"),

                                           WITNESS ETH

             WHEREAS, the Authority has requested from the Bank a loan in an amount
      equal to Sixty One Million Eight Hundred Thirty Thousand Dollars ($61,830,000) (the
      "Loan") to cover operational costs incurred by the Authority;

             WHEREAS, the Authority shall repay the Loan with the (a) the revenues
      allocated to it by Act No. 30 and Act No. 31, both approved by the Legislature of the
      Commonwealth of Puerto Rico on June 25, 2013 ("Acts 30-2013 & 31-2013"); (b)
      proceeds from future bond issuances; (c) proceeds from public-private partnerships;
      and (d) revenues of the Authority;

             WHEREAS, the Authority has agreed to pledge and grant a security interest
      in favor of the Bank over the revenues received pursuant to Acts 30-2013 & 31-2013 to
      secure all obligations under this Agreement;

             WHEREAS, the Bank is willing to provide the Loan guaranteed by the
       aforementioned revenues subject to the terms and conditions set forth herein; and

             NOW, THEREFORE, in consideration of the premises and for other good and
       valuable consideration, the receipt and sufficiency of which are hereby
       acknowledged, the parties hereto agree as follows:

                                          Article 1: Line of Credit

                   1.1 Subject to the terms and conditions contained herein, and relying on the
                       representations, covenants, and warranties of the Borrower contained
                       herein, the Lender hereby agrees to provide to the Borrower a non
                       revolving line of credit in an amount not to exceed SIXTY ONE MILLION
                       EIGHT HUNDRED THIRTY THOUSAND DOLLARS ($61,830,000) (the
                       "Line of Credit"), to be used as follows:

                                (a) Sixty Million Dollars ($60,000,000) to cover operational costs
                                    incurred by the Authority; and

                                (b) One Million Eight Hundred Thirty Thousand Dollars
                                    ($1,830,000) to cover (i) the Financial Services Fee due and
                                    payable to the Bank, as defined below; and (ii) capitalized


       29912 v.2




                                                                                  AAFAF_CONF_0003974
Case:17-03283-LTS Doc#:18815-3 Filed:10/27/21 Entered:10/27/21 09:09:47                    Desc:
                       Monolines Ex. 45 Page 2 of 10



                                   interest on the Loan due and payable on the Maturity Date,
                                   as defined below.

                  1.2 The Llne of Credit will be evidenced by a Promissory Note in the principal
                      amount of SIXTY ONE MILLION EIGHT HUNDRED THIRTY
                      THOUSAND DOLLARS ($61,830,000) (the "Note"), substantially in the
                      form attached hereto as Exhibit I, subscribed on this date by the Borrower
                      and payable to the order of the Lender.

                  1.3 The Borrower will use the funds exclusively for the aforementioned
                      purposes, as approved by Resolution No. 10132 duly adopted by the
                      Bank's Board of Directors on August 21, 2013, and Resolution 2013-42 duly
                      adopted by the Board of Directors of the Borrower on August 27, 2013.

                  1.4 The Loan shall mature and become due and payable on February 28, 2014
                      (the "Maturity Date"). The President of the Bank is hereby authorized to
                      extend the Maturity Date of the Loan for an additional one hundred
                      twenty (120) days, if necessary. The Borrower hereby agrees to repay the
                      outstanding aggregate principal amount of the Loan at the principal office
                      of the Lender in San Juan, Puerto Rico, as set forth below.

                  1.5 The Borrower shall request drawings (each a "Drawing" and collectively, the
                      "Drawings") from the Line of Credit by written notice to the Bank, signed by
                      an authorized officer of the Borrower, and delivered to the Bank at least three
                      (3) Banking Days' prior to the proposed date of such Drawing. The Borrower
                      shall use the Notice of Drawing Form attached hereto as Exhibit II to request
                      each Drawing. The Bank shall fund the requested Drawing on the date
                      specified in such Notice of Drawing (which must be a Banking Day). A Notice
                      of Drawing from the Borrower, once received by the Bank, shall be
                      irrevocable. For the purposes of this Loan Agreement, "Banking Day" means
                      any day on which commercial banks are open for business in San Juan, Puerto
                      Rico. The Bank reserves the right to request from the Authority any additional
                      information prior to disbursements from the Line of Credit, including, but not
                      limited to, copies of invoices.

                         (a) Disbursements from the Line of Credit are subject to compliance by
                             the Authority with the Bank's Fiscal Agency Area regarding the
                             terms and conditions of the Fiscal Oversight Agreement (FOA) in
                             effect between the Bank and the Authority.

                  1.6 Each Drawing shall bear interest at a variable interest rate per annum,
                      computed on a daily basis from the date such Drawing is funded until its
                      repayment, equal to the Prime Rate plus one hundred and fifty (150) basis
                      points, as determined from time to time in good faith by the Lender, or,
                      upon written notice to the Borrower, at a variable interest rate per annum,


      29912 v.2                               - 2-




                                                                                    AAFAF_CONF_0003975
Case:17-03283-LTS Doc#:18815-3 Filed:10/27/21 Entered:10/27/21 09:09:47                   Desc:
                       Monolines Ex. 45 Page 3 of 10



                      which interest rate may be revised periodically, equal to the Lender's cost
                      of funding for variable rate loan transactions or the cost of any other
                      obligations or source of funds used to fund the Loan. For purposes of this
                      Loan Agreement, such interest rate shall not exceed twelve (12) percent
                      and shall not be less than six (6) percent. Interest shall be calculated on
                      the basis of a three hundred and sixty (360) days year of twelve (12) actual
                      day months. Interest for any period of less than one (1) calendar month
                      shall be calculated on the basis of the actual number of days elapsed
                      during that month. Interest shall be capitalized and payable on the
                      Maturity Date

                         (a) The President of the Bank or the duly authorized Executive Vice
                             President of the Bank may modify the interest rate at any time at
                             their full discretion, depending on the interest rate market.

                         (b) If on the Maturity Date the Loan is not repaid in full, the Borrower
                             hereby agrees to pay a default interest rate equal to two hundred (200)
                             basis points over the otherwise applicable interest rate calculated on
                             the outstanding principal amount (the "Default Rate").

                  1.7 If the Borrower does not pay the principal amount of the Loan when it
                     becomes due and payable, or does not pay interest when due, the Lender
                     may, at its sole option, without notice to Borrower and to the fullest extent
                      allowed by law, set off and apply any other available moneys (including
                      deposits of any kind) of the Borrower against any such unpaid principal
                      amount or unpaid accrued interest.

                                                    Article 2: Covenants

                  2.1 Simultaneously with the execution of this Agreement, the Borrower will
                      execute and deliver to the Bank the (i) Promissory Note in the amount of
                      $61,830,000; (ii) the Assignment and Security Agreement; and (ii) the UCC-
                      1 Financing Statement (collectively, the "Loan Documents").

                  2.2 The principal amount of the Loan shall be payable from (a) the revenues
                      funds assigned to the Borrower by Acts 30-2013 & 31-2013 (b) the proceeds
                      from future bond issuances; (c) proceeds from public-private partnerships;
                      and (d) as the future revenues of the Authority.

                  2.3 Prior to any Drawings, Borrower will provide the Bank a duly executed
                      Notice of Drawing, as established in Section 4 of this Loan Agreement,
                      substantially in the form attached as Exhibit II hereto.




      29912 v.2                               -3-




                                                                                    AAFAF_CONF_0003976
Case:17-03283-LTS Doc#:18815-3 Filed:10/27/21 Entered:10/27/21 09:09:47                     Desc:
                       Monolines Ex. 45 Page 4 of 10



               2.4 The Borrower agrees to pay the Lender an amount equal to Thirty Thousand
                   Dollars ($30,000) as financial services fee in connection with this Loan
                   Agreemen t (the "Financial Services Fee").

                   2.5 The Authority hereby irrevocabl y pledges and grants a security interest in
                      favor of the Bank over the revenues funds received pursuant to Acts 30-
                       2013 & 31-2013 (the "Collatera l") to secure the payment of all obligation s
                       due to the Bank under this Agreemen t. The Authority and the Bank shall
                       enter into an Assignme nt and Security Agreemen t on the date hereof,
                       which is a condition precedent o any Drawings under the Line of Credit.
                       Upon full and complete payment of all amounts due hereunder , the
                       Collateral shall be returned to the Authority free and dear of any and all
                       claims by the Bank.

                   2.6 The Lender understan ds and agrees that the obligation s of the Borrower
                       hereunder with respect to the payment of principal and interest on the
                      Loan from the revenues approved by Acts 30-2013 & 31-2013 is junior and
                       subordina ted in all respects to the payment of the outstandi ng bonds of the
                       Borrower issued pursuant to (i) Resolution No. 98-06, adopted by the
                       Authority on February 26, 1998, as amended, and (ii) Resolution No. 13-41,
                       adopted by the Authority on August 28, 2013 (as modified, suppleme nted   1
                       or amended from time to time and collectively, the "Bond Resolution s      ').




                   2.7 Notwithst anding the above, without the Bank's prior written consent, the
                       Borrower will not incur, create, assume, permit or suffer to exist any
                       additional lien over the funds received pursuant to Acts 30-2013 & 31-2013.

                   2.8 The Borrower shall from time to time, upon request by the Lender,
                       promptly provide the Lender with such informatio n as to its finances and
                       operation s as the Lender shall reasonabl y request.

                    2.9 As frequently as the Bank may require, the Borrower will execute or cause
                        to be executed and delivered to the Bank such additiona l document s and
                       will take such reasonabl e action as the Bank may request to perfect and
                        keep in full force and effect the liens intended to be created by the
                        Assignme nt and Security Agreemen t.

                    2.10 The Borrower has the power and authority to enter into and perform its
                       obligation s under this Agreemen t and the Loan Document s.

                    2.11 The execution, delivery, and performan ce of this Agreemen t and the
                        other Loan Document s, and the performan ce of the transactio n
                        contempla ted hereby and thereby (i) is within the authority of the
                        Borrower; (ii) has been duly authorized ; (iii) does not conflict or result in a



       29912 v.2                                -4-




                                                                                      AAFAF_CONF_0003977
Case:17-03283-LTS Doc#:18815-3 Filed:10/27/21 Entered:10/27/21 09:09:47                   Desc:
                       Monolines Ex. 45 Page 5 of 10



                      material breach of contravention of any provision of any law, statute, rule1
                      or regulation to which the Borrower is subject or any judgment, order, writ,
                      injunction, license or permit applicable thereto; and (iv) does not conflict
                      with any agreement or other instrument binding upon the Borrower.

                                                     Article 3: Default

                   3.1 If the Authority fails, neglects or refuses to timely or fully satisfy its
                       payment obligations under this Loan Agreement, the Bank may take any
                       and· all action at law or in equity necessary or desirable to collect the
                       amounts then due and thereafter to become due hereunder or to enforce
                       the performance and observance of any duty covenant, obligation or
                                                                          1


                       agreement of the Authority hereunder available to it under applicable law1
                       including but not limited to taking possession of the Collateral, in order to
                       satisfy any and all payment obligations of the Authority due to the Bank
                       pursuant to this Loan Agreement; provided, however, that the Bank agrees
                       not to take possession of such Collateral unless it shall have received a
                       favorable opinion from the bond counsel regarding the federal tax status of
                       the Collateral.

                   3.2 If the Borrower defaults in making any payment when due under this
                       Loan Agreement, the Lender may declare the Loan to be immediately due
                       and payable, provided, however, that all repayments shall be on a basis
                      junior,. inferior and subordinate in all respects to the bonds issued under
                       the provisions of the Bond Resolutions. In case of recourse to the courts by
                       the Bank in order to collect the whole or any portion of the principal or
                       interest due, the Borrower agrees to pay liquidated damages in a: sum
                       equal to ten percent (10%) of the amount of the Loan to cover expenses of
                       such proceedings, court costs, disbursements and attorney's fees, which
                       amount will become immediately due and payable upon the filing of such
                       judicial proceedings.

                                        Section 4: Miscellaneous Provisions

                   4.1 The Authority may prepay the Loan at any time without premium or
                       penalty.

                   4.2 Payment of principal of and interest on the Loan shall be made in any coin
                       or currency of the United States of America, which at the time of payment
                       shall be legal tender for the payment of public and private debts.

                   4.3 The Borrower waives the requirements of demand, presentment, protest,
                       notice of dishonor, and, in general, any other legal formality




       29912 v.2                               -5-




                                                                                    AAFAF_CONF_0003978
Case:17-03283-LTS Doc#:18815-3 Filed:10/27/21 Entered:10/27/21 09:09:47                    Desc:
                       Monolines Ex. 45 Page 6 of 10



                   4.4 This Agreement and the other Loan Documents to which the Borrower is a
                       party have been duly executed and delivered by the Borrower and
                       constitute legal, valid and binding obligations of the Borrower, enforceable
                       in accordance with their respective terms and provisions hereof and
                       thereof, except as such enforceability may be limited by bankruptcy,
                       insolvency, reorganization, moratorium, or other laws relating to or
                       affecting generally the enforcement of creditors' rights, or by general
                       principles of equity.

                   4.5 No representation or warranty made by the Borrower to the Bank in this
                       Agreement, or any of the Loan Documents, or any other document
                       furnished to the Bank by the Borrower or on behalf of the Borrower, in
                       connection with the transaction contemplated herein, contains any untrue
                       statement of material fact or omits to state a material fact necessary in
                       order to make the statements contained therein, in light of the
                       circumstances in which they are made, not misleading.

                   4.6 No amendment or waiver of any provisions of this Loan Agreement, or
                       consent to any departure here from by the Borrower, shall be effective
                       unless the same shall be in writing and signed by the Lender and then such
                       waiver or consent shall be effective only in the specific instance and for the
                       specific purpose for which given.

                   4.7 Any notices which may be given to either party hereunder shall be in
                       writing, and if addressed to the Lender, sent to the offices of the Lender
                       located at Roberto Sanchez Vilella Government Center, De Diego Avenue,
                       San Juan, Puerto Rico 00940, Attn: Executive Vice President of Financing,
                       or to such other address or person as the Lender may hereafter notify the
                       Borrower in writing; and if addressed to the Borrower, sent to the offices of
                       the Borrower, located at Roberto Sanchez Vilella Government Center,
                       South Building, San Juan, Puerto Rico 00940, Attn: Executive Director, or
                       to such other address or person as the Borrower may hereafter notify the
                       Lender in writing. Any such notice, if delivered personally, by facsimile or
                       electronic mail, shall be effective three Banking Days after posting.

                   4.8 This Loan Agreement is intended to be a declaration of official intent
                       under U.S. Treasury Department Regulation Section 1.150-2.

                   4.9 This Loan Agreement shall be binding upon and inure to the benefit of the
                       Borrower and the Lender and their respective successors and assigns. The
                       Lender may assign to any other financial institution all or any part of or
                       any interest in the Lender's rights hereunder and in the Loan, and to the
                       extent of such assignment such assignee shall have the same rights against
                       the Borrower hereunder as does the Lender. The Borrower may not assign


       29912 v.2                               -6-




                                                                                     AAFAF_CONF_0003979
Case:17-03283-LTS Doc#:18815-3 Filed:10/27/21 Entered:10/27/21 09:09:47           Desc:
                       Monolines Ex. 45 Page 7 of 10



                 any of its rights nor delegate any of its obligations hereunder without the
                 Lender's prior written consent.

             4.10 This Loan Agreement shall be governed by, and the rights and
                 obligations of the parties hereunder shall be construed in accordance with
                 the laws of the Commonwealth of Puerto Rico.

            IN WITNESS WHEREOF, the Borrower and the Lender have caused this Loan
      Agreement to be executed and delivered by their respective officers thereunto duly
      authorized, in San Juan, Puerto Rico all as of the day and year first written above.

      GOVERNMENT DEVELOPMENT BANK                     PUERTO RICO HIGHWAYS AND
      FOR PUERTO RICO                                 TRANSPORTATION AUTHORITY




      Jor        es Diaz                                                   andez
      Exec _ _ e President                             xecutive Director the Puerto Rico
                                                                        of
      andF     ent                                    Highway and Transportation
                                                      Authority
      Affidavit No. ftb~




       Affidavit No.   'J/oC/
             Recognized and subscribed before me by Jorge A. Clivilles Diaz, as Executive
      Vice President and Fiscal Agent of the Government Development Bank for Puerto
      Rico, of legal age, married and resident of San Juan, Puerto Rico, who is personally
      known to me. In San Juan, Puerto Rico, on August:'ls>, 2013.
            ~~~N RIii:
        if,.~~
        10                                         ~~                   -.
        1                                             ~

                                        EXENTO DEL PAGO DE ARANCEL
                                        J.,l;Y 47 DE 4 DE JUNIO DE 1982




                                                                             AAFAF_CONF_0003980
Case:17-03283-LTS Doc#:18815-3 Filed:10/27/21 Entered:10/27/21 09:09:47          Desc:
                       Monolines Ex. 45 Page 8 of 10


                        FIRST AMENDMENT TO LOAN AGREEMENT


             This FIRST AMENDMENT TO LOAN AGREEMENT (the "First
      Amendment"), dated as of January~ 2014, is entered into by and between
      the PUERTO RICO HIGHWAYS AND TRANSPORTATION AUTHORITY
      (the "Authority" or the "Borrower") and the GOVERNMENT DEVELOPMENT
      BANK FOR PUERTO RICO (the "Bank" or the "Lender"). All terms not otherwise
      defined hereof shall have the meanings ascribed to them in the Loan Agreement.


                                      WITNESS ETH

            WHEREAS, on August 28, 2013, the Authority and the Bank executed a Loan
      Agreement (the "Loan Agreement") for the total principal amount of SIXTY ONE
      MILLION EIGHT HUNDRED THIRTY THOUSAND DOLLARS ($61,830,000) to
      cover operational costs incurred by the Authority;

             WHEREAS, the Loan was evidenced by a Promissory Note due and payable
      to the Bank on February 28, 2014, issued on the same date as the Loan Agreement
      and for the amount of SIXTY ONE MILLION EIGHT HUNDRED THIRTY
      THOUSAND DOLLARS ($61,830,000);

            WHEREAS, by October 31, 2013, the Loan had an outstanding principal
      balance of$ 49,628,623.37, and accrued interests for the amount of$ 475,569.98;

            WHEREAS, the Authority has requested, and the management of the Bank
      has recommended, to amend de Loan Agreement with the purpose of extending the
      Maturity Date.

            WHEREAS, on November 20, 2013, the Board of Directors of the Bank adopted
      Resolution 10197, authorizing to extend the Maturity Date of the Loan up to
      January 31, 2015, subject to certain terms and conditions;

              WHEREAS, pursuant to Resolution Number 2014-04, adopted by the Secretary
      of Transportation and Public Works on January 30, 2014, the Authority accepted the
      terms and conditions established by the Bank as set forth in above referenced
      Resolution 10197.

            NOW., THEREFORE, in consideration to the premises and for other good and
      valuable consideration, the receipt and sufficiency of which are hereby
      acknowledged, the parties hereto agree as follows:

              1. Section 1.4, Article 1, of the Loan Agreement is amended to read as
                 follows:

      30208




                                                                           AAFAF_CONF_0003955
Case:17-03283-LTS Doc#:18815-3 Filed:10/27/21 Entered:10/27/21 09:09:47                Desc:
                       Monolines Ex. 45 Page 9 of 10
                                                  2


                    "The Loan shall mature and become due and payable on
                    January 31,. 2015 (the 11 Maturity Date"). The Borrower hereby
                    agrees to repay the outstanding aggregate principal amount of
                    the Loan at the principal office of the Lender in San Juan, Puerto
                    Rico, as set forth below."

             2. Pursuant to this First Amendment to Loan Agreement, a First Amendment
             to Promissory Note (Allonge) shall be executed by the Authority on this date.

             3. The Borrower agrees to pay the Lender a financial advisory fee for this
             transaction in the amount of Twenty Four Thousand Seven Hundred Thirty
             Two Dollars ($24,.732).

             4. This First Amendment does not constitute a novation of the obligations set
             forth in the Loan Agreement and the Loan Documents, and all provisions of the
             Loan Agreement, as amended herein, and the Loan Documents not inconsistent
             with this First Amendment, shall remain in full force and effect, including but
             not limited to, the terms and obligations of the Borrower as set forth in the
             Assignment and Security Agreement.

             5. In the event that any provision of this First Amendment is declared to be
             void of unenforceable, the remainder of this First Amendment shall not be
             affected thereby and shall remain in full force and effect to the extent feasible in
             the absence of the void and unenforceable declaration.

             6. The President, the Executive Vice President of Financing or any Executive
             Vice President of the Bank, are authorized to negotiate any other term or
             condition necessary in order to safeguard the best interests of the Bank.

             7. Pursuant to Resolution 10197, adopted by the Board of Directors of the
             Bank on November 20, 2013, this Second Amendment to Loan Agreement is
             intended as a declaration of intent under U.S. Treasury Department Regulation
             Section 1.150-2.

                                  [SIGNATURES ON THE NEXT PAGE]




     29273




                                                                                 AAFAF_CONF_0003956
Case:17-03283-LTS Doc#:18815-3 Filed:10/27/21 Entered:10/27/21 09:09:47                      Desc:
                       Monolines Ex. 45 Page 10 of 10
                                          3


             IN WITNESS WHEREOF, the Borrower and the Lender have caused this First
      Amendment to Loan Agreement to be executed and delivered by their respective
      officers thereunto duly authorized, in San Juan, Puerto Rico.

      GOVERNMENT DEVELOPMENT                       PUERTO RICO HIGHWAYS AND
      BANK FOR PUERTO RICO                         TRANSPORTATION AUTHORITY



                                                         CZU-e

      Jorge .                                      Ja\,ier E. Ramos Hern'
      Execu ·     ·ce President                    Executive Director of the Puerto Rico
      and Fiscal Agent                             Highways and Transportation Authority


      Affidavit No. </r:3

                          Recognized and subscribed before me by Javier E. Ramos Hernandez as
                   Executive Director of the Puerto Rico Highways and Transportation Authority,
                   of legal age, married, engineer and resident of Bayam6n, Puerto Rico, personally
-----....--~~':.-=-"r      to me.

                  an Juan, Puerto Rico, on January 31         2014.




                                                   ~~
                                     EXENTO DEL PAGO DE ARANCEL
                                                                 NotaryPubI
                                       ~y 47 DE 4 DE JUNIO DE 1982
       Affidavit No. qiS'

              Recognized and subscribed before me by Jorge A. Clivilles Diaz, as
      Executive Vice President and Fiscal Agent of the Government Development Bank for
      Puerto Rico, of legal age, married and resident of San Juan, Puerto Rico, who is
      personally known to me.

              In San Juan, Puerto Rico, on January 31, 2014.


                       ~,/~-
                        rh
                        0Q                           ~
                               EXENTO DEL PAGO DE ARANCEL
                                ' ~v 47 DE 4 DE JUNIO DE 1982




                                                                                       AAFAF_CONF_0003957
